  Case 1:16-cv-00111-JDL Document 7 Filed 05/03/16 Page 1 of 6                   PageID #: 26




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

CALEB BOLAND,                                        )
                                                     )
                              Plaintiff              )
                                                     )
                       v.                            )      Civil No. 16-111-JDL
                                                     )
RODNEY BOUFFARD, et al.,                             )
                                                     )
                              Defendants             )


                                      AMENDED ANSWER

       The defendants, through their counsel, hereby answer the numbered paragraphs of the

plaintiff’s complaint as follows.

   1. This paragraph is a legal conclusion and, therefore, requires no responsive pleading.

   2. This paragraph is a statement of jurisdiction and, therefore, requires no responsive

       pleading.

   3. This paragraph is a statement of venue and, therefore, requires no responsive pleading.

   4. The defendants are without knowledge or information sufficient to form a belief as to the

       truth of the allegations in this paragraph.

   5. The defendants are without knowledge or information sufficient to form a belief as to the

       truth of the allegations as to Caleb Boland, but admit the allegations as to Micah Boland.

   6. The defendants admit the allegations in this paragraph.

   7. The defendants admit the allegations in this paragraph, but state that defendant Tausek

       was only one of the Deputy Wardens.

   8. This paragraph is a legal conclusion and, therefore, requires no responsive pleading.
Case 1:16-cv-00111-JDL Document 7 Filed 05/03/16 Page 2 of 6                   PageID #: 27




 9. This paragraph is a description of the action and, therefore, requires no responsive

    pleading.

 10. The defendants admit the allegations in this paragraph.

 11. The defendants admit the allegations in this paragraph.

 12. The defendants admit that Stahursky murdered the decedent when and where alleged. To

    the extent the paragraph includes characterization (i.e., “brutal”), no responsive pleading

    is required.

 13. The defendants deny the allegations in this paragraph.

 14. The defendants admit the allegations in this paragraph, but state that it was Close B-Pod.

 15. The defendants are without knowledge or information sufficient to form a belief as to

    how many times Stahursky hit the decedent or whether he used both “shanks” or just one

    of them to stab the decedent; admit that Stahursky entered the decedent’s cell and closed

    the door and that the decedent’s hands were bound; but deny that the decedent was

    stabbed 87 times. To the extent the paragraph includes characterization (i.e., “beating”),

    no responsive pleading is required.

 16. The defendants admit the allegations in this paragraph, but state that it was Close B-Pod.

 17. The defendants deny the allegations in this paragraph.

 18. The defendants are without knowledge or information sufficient to form a belief as to

    what the plaintiff is referring to, but deny any implication that the pod was unsupervised

    at the time of the murder.

 19. The defendants deny the allegations in this paragraph.

 20. The defendants admit that Stahursky had assaulted a guard and two inmates on separate

    occasions, but deny the other allegations in this paragraph.



                                              2
Case 1:16-cv-00111-JDL Document 7 Filed 05/03/16 Page 3 of 6                    PageID #: 28




 21. The defendants deny the allegations in this paragraph.

 22. The defendants admit that Stahursky was placed in the Special Management Unit on the

    date and for the reason stated, but deny the other allegations in this paragraph.

 23. The defendants admit the allegations in this paragraph, except as to the date, which is

    denied.

 24. The defendants deny the allegations in this paragraph.

 25. The defendants deny the allegations in this paragraph.

 26. The defendants admit the allegations in this paragraph, except that they are without

    knowledge or information sufficient to form a belief as to what the plaintiff means by

    “another.”

 27. The defendants deny the allegations in this paragraph.

 28. The defendants deny the allegations in this paragraph.

 29. The defendants admit that on this date the decedent was housed in the Close B-Pod, but

    deny that that was the day he was assigned there.

 30. The defendants deny the allegations in this paragraph.

 31. The defendants deny the allegations in this paragraph.

 32. The defendants deny the allegations in this paragraph.

 33. The defendants admit that they generally knew there were child sex offenders in every

    housing unit at the Prison, but deny the other allegations in this paragraph.

 34. The defendants deny the allegations in this paragraph.

 35. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.




                                              3
Case 1:16-cv-00111-JDL Document 7 Filed 05/03/16 Page 4 of 6                     PageID #: 29




 36. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 37. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 38. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 39. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 40. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 41. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 42. The defendants repeat their responses to the above allegations as if fully set forth herein.

 43. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 44. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 45. The defendants repeat their responses to the above allegations as if fully set forth herein.

 46. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 47. The defendants are without knowledge or information sufficient to form a belief as to the

    allegations in this paragraph.




                                               4
Case 1:16-cv-00111-JDL Document 7 Filed 05/03/16 Page 5 of 6                     PageID #: 30




 48. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 49. The defendants repeat their responses to the above allegations as if fully set forth herein.

 50. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 51. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 52. The defendants repeat their responses to the above allegations as if fully set forth herein.

 53. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 54. The defendants are without knowledge or information sufficient to form a belief as to the

    allegations in this paragraph.

 55. The defendants deny the factual allegations in this paragraph; the legal conclusions

    require no responsive pleading.

 There are no paragraphs 56 to 62.

 63. This paragraph is a jury demand and, therefore, requires no responsive pleading.

    The unnumbered paragraphs in the plaintiff’s complaint consist of demands for relief

 and, therefore, require no responsive pleading.

    To the extent that there are any allegations that require response and to which the

 defendants have yet to respond, those allegations are denied.

    Further answering, the defendants offer the following defenses:

    1.      The defendants did not violate any constitutional right of the decedent.

    2.      They plaintiff’s claims are barred by the doctrine of qualified immunity.

                                               5
 Case 1:16-cv-00111-JDL Document 7 Filed 05/03/16 Page 6 of 6                        PageID #: 31




       3.      Any harm to the decedent was caused by or contributed to by the fault of a third

   person.

       4.      The plaintiff fails generally to state a claim upon which relief may be granted.

Dated: May 3, 2016                                     /s/ Diane Sleek
                                                       DIANE SLEEK, AAG
                                                       Office of Attorney General
                                                       Six State House Station
                                                       Augusta, ME 04333-0006
                                                       Tel. (207) 626-8800


                               CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I electronically filed this paper with the court using the

ECF system, which will send notice of filing to John Gause, Esq., Eastern Maine Law, LLC, 77

Exchange St., Suite 300, Bangor, ME 04401.

Dated: May 3, 2016                                     /s/ Diane E. Sleek
                                                       DIANE E. SLEEK, AAG




                                                  6
